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 8                    UNITED STATES DISTRICT COURT
 9                  NORTHERN DISTRICT OF CALIFORNIA
10                         SAN FRANCISCO DIVISION
11 DARRELL WILEY,                         Case No. 3:19-cv-02756-WHO
12                   Plaintiff,           Honorable William H. Orrick
13        v.
                                          ORDER DISMISSING ACTION
14 UNUM LIFE INSURANCE COMPANY
     OF AMERICA,
15
                     Defendant.           Complaint Filed: May 21, 2019
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                                                             ORDER DISMISSING ACTION
                                                              Case No. 3:19-cv-02756-WHO
     Case 3:19-cv-02756-WHO Document 165 Filed 07/08/22 Page 2 of 2



 1                                        ORDER
 2         Pursuant to the stipulation of the parties, the above-entitled action is hereby
 3 dismissed in its entirety, with prejudice.       Each party shall bear his or its own
 4 attorneys’ fees and costs.

 5

 6         IT IS SO ORDERED.
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 8
     Dated: July 7, 2022                            ____________________________
 9                                                  Honorable William H. Orrick
10
                                                    United States District Judge

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                                                                     ORDER DISMISSING ACTION
                                                                      Case No. 3:19-cv-02756-WHO
